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                                      UNITED STATES BANKRUPTCY COURT
                                         NORTHERN DISTRICT OF TEXAS
                                              AMARILLO DIVISION
  IN RE:   Krisu Hospitality LLC                                                    CASE NO       19-20347-11

                                                                                   CHAPTER        11

                                     VERIFICATION OF CREDITOR MATRIX

      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 11/6/2019                                           Signature    /s/ Krisu Hospitality LLC
                                                                     Krisu Hospitality LLC



Date                                                     Signature
